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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

EUNIECE LaSHAWN DIXON,

             Plaintiff                        Case No. 5:16-cv-14124
                                              District Judge Judith E. Levy
v.                                            Magistrate Judge Anthony P. Patti

FORD MOTOR COMPANY,

          Defendant.
___________________________________/
 ORDER RESOLVING AND GRANTING IN PART DEFENDANT FORD
    MOTOR COMPANY’S MOTION TO COMPEL PLAINTIFF TO
  RESPOND TO DEFENDANT’S FIRST REQUESTS TO PRODUCE, TO
 ADDRESS THE PROTECTIVE ORDER, AND FOR SANCTIONS (DE 55)
      This matter came before the Court for consideration of Defendant Ford

Motor Company’s motion to compel Plaintiff to respond to Defendant’s first

requests to produce, to address the protective order, and for sanctions (DE 55),

Plaintiff’s response in opposition (DE 58), Defendant’s reply (DE 59), and the

parties’ joint statement of resolved and unresolved issues (DE 65).

      Defendant’s motion came before the Court for a hearing on July 18, 2018, at

which attorney Julia Turner Baumhart and Plaintiff Euniece LaShawn Dixon

appeared. After engaging in a meet and confer conference in the courtroom at the

Court’s direction, Plaintiff and counsel for Defendant informed the Court that they

had resolved several of the matters that had been the subject of Defendant’s
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motion. Plaintiff and counsel for Defendant placed a stipulation as to these

resolved matters on the record. In addition, during the hearing, the parties agreed

to and executed the Revised Stipulated Protective Order attached as Exhibit L to

Defendant’s motion, which has been entered by the Court as DE 68.

      For the reasons stated on the record, and consistent with my findings and

reasoning stated on the record, all of which are incorporated by reference as though

fully restated herein, Defendant’s motion to compel (DE 55) is RESOLVED and

GRANTED IN PART as follows:

         1. Plaintiff states that she has located additional documents responsive to

             Defendant Ford’s First Requests to Produce, including Facebook

             entries, Blue Cross Blue Shield invoices for Dr. Kim Logan, and her

             contract with former defendant Managed Asset Portfolios (MAP).

             Plaintiff will produce these documents to Defendant by July 31, 2018.

         2. Plaintiff states that she has produced the only audio recordings/files

             she has with Ford Labor Relations personnel, and that there are no

             other such recordings. She further represented that she has not

             withheld any documents on the basis of privilege up to this point.

         3. Plaintiff will produce documents and records she has relating to Dr.

             Leon Rubenfaer, by July 31, 2018.




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         4. Plaintiff will provide written responses to Defendant Ford’s Second

            Requests to Produce, without objections, and produce all responsive,

            non-financial documents, by July 31, 2018. If Plaintiff does not have

            documents responsive to a request, she shall state that in her written

            responses.

         5. Plaintiff will produce all audio recordings/files in her possession

            involving: (a) the Saint Clair Police Department; and (b) Dr. Kim

            Logan, by July 31, 2018. She may designate these or other

            documents to be produced as confidential under the protective order if

            she believes that there is a good faith basis for doing so. Plaintiff is

            precluded from relying on or using any audio recordings/files she does

            not timely produce.

      Finally, although Defendant originally requested monetary sanctions in the

amount of $1,140 (4 hours x $285/hour) in its motion, at the hearing Defendant

appeared to withdraw that request and only seek a ruling precluding Plaintiff from

relying on any documents not yet produced in her response to Defendant’s pending

motion for summary judgment. That requested sanction is granted and Plaintiff is

PRECLUDED from using or relying on any documents not yet produced in her

response to Defendant’s pending motion for summary judgment (DE 63). Any

documents or things which are required to be produced pursuant to this Order and


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which are not produced in accordance with the deadlines established herein shall

not be used by Plaintiff for any purpose at trial.

      IT IS SO ORDERED.

Dated: July 19, 2018                    s/Anthony P. Patti
                                        Anthony P. Patti
                                        UNITED STATES MAGISTRATE JUDGE

                                Certificate of Service

I hereby certify that a copy of the foregoing document was sent to parties of record
on July 19, 2018, electronically and/or by U.S. Mail.

                                        s/Michael Williams
                                        Case Manager for the
                                        Honorable Anthony P. Patti




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